      Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 1 of 19 PageID #: 1



          IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF MISSISSIPPI
                      GREENVILLE DIVISION


MONTRELL GREENE                                                  PLAINTIFF


VS.                                                4:16-CV-093-GHD-JMV
                                CIVIL ACTION NO.: _____________________


GREENWOOD PUBLIC SCHOOL DISTRICT,
AND DEIRDRE MAYES, RANDY CLARK, AND
SAMANTHA MILTON, IN THEIR OFFICIAL
OFFICIAL AND INDIVIDUAL CAPACITIES                               DEFENDANTS


                                  COMPLAINT

      COMES NOW the Plaintiff, Montrell Greene, by and through counsel, and

files his Complaint against, defendants, Greenwood Public School District

(“GPSD”) and Deirdre Mayes, Randy Clark and Samantha Milton, in their official

and individual capacities, and in support hereof would show unto the Court the

following, to-wit:

                                INTRODUCTION

      1. Plaintiff entered into contract with GPSD as superintendent of schools on

April 10, 2013. On January 20, 2015, the Board of Trustees for GPSD voted to

extend the contract through June 30, 2018. The contract provides for annual

compensation in the amount of $146,000.00.

      2. Plaintiff alleges that he performed the duties of superintendent in

                                         1
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 2 of 19 PageID #: 2



according with Federal and State laws and the policies implement by the Miss.

Department of Education and GPSD until his wrongful, defamatory, demeaning

and unlawful termination by the individual defendants on January 4, 2016, while

acting in their individual and official capacities as members of the Board of

Trustees for GPSD.

      3. That on January 5, 2016, Plaintiff received a letter from GPSD’s counsel

stating that he had been terminated for “cause” on grounds not set forth as a basis

for termination in Miss. Code Ann. §37-9-59.

      4. Plaintiff seeks declaratory relief and damages from defendants and other

unknown persons acting in concert with the individually named defendants to

redress the deprivations of his rights resulting from the wrongful termination of his

employment as superintendent of GPSD on January 4, 2016, without notice, the

opportunity for a hearing or Plaintiff being provided the reasons for such

termination despite a specific request to provide reasons for termination in

violation of Plaintiff’s procedural and substantive due process rights under the 14 th

Amendment to the United States Constitution, 42 U.S.C. §1983, Art. 3, §14 of the

Miss. Constitution, and the common laws of the State of Miss.

      5. That Plaintiff was required to seek redress in Chancery Court to obtain

information from Defendants pertaining to the reasons for his termination. After a

hearing, the Chancery Court of Leflore County ordered defendants to produce


                                          2
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 3 of 19 PageID #: 3



documentations and reasons for the termination. A copy of the order is attached as

Exhibit “1”. Plaintiff charges and alleges that reasons and documents produced by

GPSD and the individually named defendants are a sham and pretext to justify and

cover up the true reasons relied upon by defendants and others acting in concert

with them to deprive Plaintiff of his protected rights.

      6. Plaintiff further alleges that he is entitled to damages against defendants

Mayes, Clark and Milton and other potential persons whose identities are unknown

to Plaintiff pursuant to 42 U.S.C. for their willful, malicious, intentional violations

and deliberate indifference to Plaintiff’s known rights. The actions of the

individually named defendants constitute deliberate indifference to the known

rights of Plaintiff entitling him to compensatory and punitive damages against said

defendants in their individual capacities.

      7. That Plaintiff has a liberty interest in his good name and reputation and a

protected property interest in his contract. That the actions of defendants and,

upon information and belief, other unknown persons have deprived Plaintiff of his

liberty and property interests without due process of law in violation of the 14 th

Amendment to the United States Constitution and the due process clause of the

Miss. Constitution.

                                  JURISDICTION

      8. That jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331, 28


                                             3
      Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 4 of 19 PageID #: 4



U.S.C. §1343, the 14th Amendment to the United States Constitution and 42

U.S.C. §1983. Plaintiff further alleges that he is entitled to assert his state claims

in this Court pursuant to the pendant jurisdiction of this Court.

                                        Parties

      9. The Plaintiff is an adult resident citizen of Greenwood, Leflore County,

MS.

      10. Defendant GPSD is a political subdivision of the State of Miss.

Defendant was organized pursuant to Art. 8, §201 of the Miss. Constitution to

provide public education and related services to the children residing in the

municipal corporate limits of Greenwood, MS. GPSD may be served with process

by service upon its Superintendent Charles Brooks, at its Central office, 401

Howard Street, Greenwood, MS.

      11. That defendant Deirdre Mayes is an adult resident citizen of

Greenwood, Leflore County, MS. Defendant Mayes may be served with process at

Greenwood Public School District, Central Office, 401 Howard Street,

Greenwood, MS 38935.

      12. That defendant Randy Clark is an adult resident citizen of Greenwood,

Leflore County, MS. Defendant Clark may be served with process at Greenwood

Public School District, Central Office, 401 Howard Street, Greenwood, MS 38935.

      13. That defendant Samantha Milton is an adult resident citizen of


                                           4
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 5 of 19 PageID #: 5



Greenwood, Leflore County, MS. Defendant Milton may be served with process

at Greenwood Public School District, Central Office, 401 Howard Street,

Greenwood, MS 38935.

      14. Plaintiff further asserts and alleges that he is bringing this action against

the individually named defendants herein in their official and personals capacities

seeking to impose personal liability upon the individually named defendants for

their official actions taken under color of state law. The individually named

defendants’ intent was to deprive Plaintiff of due process, equal protections, or

equal privileges and immunities and there was malice and evil intent behind the

individual defendants’ actions. Further, Plaintiff reserves the right to amend this

complaint to add others who may have acted in concert with the defendants to

deprive Plaintiff of his rights.

      15. Plaintiff would show that the acts and conduct of the defendants names

herein were engaged in with the aim and intent to deprive Plaintiff of his

employment and contractual rights without due process of law and other

opportunities secured by the laws of the United States in violation of 42 U.S.C.

§1983.

      16. Plaintiff asserts and alleges that the actions taken against him by the

individually named defendants were engaged in with deliberate indifference to the

rights of Plaintiff and, as a result thereof, Plaintiff has been subjected to a


                                            5
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 6 of 19 PageID #: 6



deprivation of his liberty and property interests by said defendants without due

process of law.

      17. Plaintiff asserts and alleges that he has both federal and state

constitutional protected liberty interest in his employment and that defendants

herein discharged him in a manner that has the purpose, effect and result of

creating a false and defamatory impression of him that has stigmatized him and

foreclosed him from other employment opportunities of a similar nature. Plaintiff

has not been able to find comparable employment due to his termination and

resulting injury and damages to his reputation and good name.

      18. That Plaintiff asserts and alleges that he has a property interest in his

contract and that the termination of said interest was arbitrary and capricious in

violation of the due process clauses of the 14th Amendment to the U.S. Constitution

and Art. 3, §14 to the Miss. Constitution.

                              STATEMENT OF FACTS

      19. Plaintiff restates the allegations contained in ¶¶1-18 above and

incorporates them herein.

      20. That on April 10, 2013, Plaintiff was employed as superintendent of

GPSD amidst much public discord by local officials including city and state

elected officials, and residents who wanted a local candidate as its superintendent.

Plaintiff was awarded a three (3) year contract with a year added to the contract


                                             6
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 7 of 19 PageID #: 7



after an evaluation by the Board on February 6, 2014 and January 20, 2015

respectively copies of the contract, and extensions are attached as Exhibits “A”,

“B” and “C”.

      21. That on January 20, 2015, Plaintiff received an exceptional performance

evaluation and his contract was extended as mentioned above by the Board of

Trustees for GPSD despite continued discord and opposition by local officials and

members of the public who wished to control the direction of the school district,

including but not limited to the Mayor of the City of Greenwood, who, pursuant to

the municipal charter of said City is the person solely responsible for nominating

school board members for GPSD.

      22. That none of the Board members who voted to extend Plaintiff’s

contract in January, 2015, participated in the decision to terminate him. However,

upon information and belief, Defendants Milton and Mayes were part of the

discord surrounding GPSD and made it abundantly clear that once the Mayor

appointed new members Plaintiff’s employment as superintendent would be

terminated.

      23. That in or about October, 2015, and December, 2015 respectively, the

Mayor appointed two (2) new trustees for GPSD, namely Defendant Mayes and

Clark. These two (2) newly appointed board members would result in a shift in

power that ended with the termination of Plaintiff on January 4, 2016, on a 3-1


                                         7
        Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 8 of 19 PageID #: 8



vote.

        24. That on January 4, 2016, Defendants called a special meeting of the

Board of Trustees of GPSD for the sole purpose of terminating Plaintiff’s

employment and his contract.

        25. That, upon information and belief, Defendant Clark had not been sworn

in and/or procured a performance bond as required by law before taking action as a

board member to terminate Plaintiff. Further, Clark had not attended a single

board meeting or engaged in any dialogue with Plaintiff about his performance

before he showed up and voted to terminate Plaintiff on January 4, 2016.

        26. That Plaintiff was never evaluated nor apprised or any issues with

regards to his performance as superintendent by the individually named defendants

prior to their decision to call a special meeting on January 4, 2016, for the sole

purpose of terminating him as superintendent. Further, Defendants Milton, Mayes

and Clark voted to terminate Plaintiff without any knowledge of Plaintiff’s

performance as superintendent nor had they participated in an evaluation of him

and upon, information and belief, the information relied upon by them was

obtained from sources outside GPSD prior to the January 4, 2016, meeting. The

individually named Defendants acted without any deliberation when they voted to

terminate him and cancel his contract on January 4, 2016 or knowledge of the daily

operations of GPSD or Plaintiff’s job performance. Such action by defendants


                                           8
     Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 9 of 19 PageID #: 9



violated Plaintiff’s procedural and substantive due process rights and constitutes

deliberate indifference to his rights.

      27. That subsequent to the special called meeting on January 4, 2016, on

January 5, 2016, Plaintiff was issued a letter through the attorney for GPSD stating

as the sole reason for defendants’ decision to terminate Plaintiff is “cause.” A

copy of the letter is attached as Exhibit “D”. That “cause” is not a stated ground

for termination in Miss. Code Ann. §37-9-59.

      28. That Plaintiff was not informed of the reasons and factual basis to

support defendants’ decision to terminate him on January 4, 2016, even though he

was present during the board meeting nor subsequent to the January 4, 2016,

meeting other than the claim that he was being discharged for “cause.”

      29. Further, at the time of his termination Plaintiff had a contract with

GPSD for another 30 months with an annual salary of $146,000.00 and a property

interest in said contract that precludes its cancellation without due process of law.

Yet, Plaintiff was not provided any pre-termination hearing or even an audience

with Board members before Defendants’ took the extreme and drastic action of

terminating him and cancelling his contract.

      30. That because GPSD and defendants provided only the vague and/or

ambiguous reason of “cause” as the sole ground to terminate Plaintiff’s

employment and contract, and believing that the true reasons and motivations for


                                          9
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 10 of 19 PageID #: 10



his termination are unrelated to his employment and performance as

superintendent. Plaintiff requested that counsel for defendants provided the reason

for such termination to no avail. On January 11, 2016, Plaintiff, by and through

counsel, requested that the Board of Trustees for GPSD provide the specific

reasons for his termination and the factual basis therefor.

      31. That Plaintiff would show that despite exposing itself to potential claims

for breach of contract, wrongful termination, defamation of character, violation of

liberty and property rights and other claims, defendants refused to even allow

Plaintiff to appear at the January 4, 2016, board member defend himself before he

was terminated. Further, Plaintiff was the superintendent of education with a valid

contract yet defendants refused to disclose the reasons for the termination without

a subject court order entered on March 17, 2016.

      32. Further, unlike other certificated employees, as superintendent, Plaintiff

no longer has the right under the Education Employment Procedures Law

(“EEPL”) 37-9-59 and 37-9-101, et seq., to request a hearing before the

Defendants for GPSD where the GPSD and Defendants would be required to

provide documentary and other tangible evidence supporting the reasons and with

explanations for his termination and facts to support its reasons.

      33. That GPSD and the individually named defendants arbitrarily and

capriciously violated the terms of its contract with Plaintiff resulting in grievous


                                          10
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 11 of 19 PageID #: 11



losses to Plaintiff and the individually named defendants were biased and

prejudiced against Plaintiff prior to and during their brief board meeting when they

voted on January 4, 2016, to terminate Plaintiff in furtherance of their biasness and

prejudice against Plaintiff. The acts and conduct of the individual defendants and

others acting in concert with them, and each of them, were motivated with

deliberate indifference to Plaintiff’s known rights under the Due Process Clause of

the 14th Amendment to the United States Constitution.

      34. That the actions of the individually named defendants were further

violative of Plaintiff’s rights under the due process clause of the Miss.

Constitution.

                                     COUNT I

      35. That Plaintiff restates and realleges ¶¶1-34 and incorporates them within

this Count by reference as if fully copied herein.

      36. That at all times herein, Plaintiff had a liberty and property interests in a

written employment contract with defendant. The 14th Amendment to the United

States Constitution establishes a liberty and/or property interest in employment and

contracts and prohibits the termination or violation of the same without due

process of law. The individually named defendants violated these known rights by

failing to provide Plaintiff a hearing or the opportunity to present a defense before

the Board.


                                          11
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 12 of 19 PageID #: 12



      37. That GPSD and the individually named defendants, without just cause

or good reason therefor, intentionally and maliciously deprived Plaintiff of his

liberty and property interests under said contract in violation of the due process

clause to the 14th Amendment. The individually named defendants knew that

Plaintiff had a federally protected property and liberty interests in his contract yet

elected to knowingly and with deliberate indifference violate said rights.

      38. That the actions of the individually named defendants occurred while

they were acting under color of state law.

      39. Pursuant to 42 U.S.C. §1983 the actions of GPSD and individually

named defendants entitled Plaintiff to all damages and other relief against them

personally and individually.

                                     COUNT II

      40. That Plaintiff restates and reallges ¶¶1-39 and incorporates them within

this Count by reference as if fully copied herein.

      41. That pursuant to Due Process Clause of the 14th Amendment, Plaintiff

has a constitutionally protected liberty interest in his reputation, good name and

standing in the community and in the employment market and the right to defend

and protect the same against a wrongful discharge by the individually named

defendants that stigmatizes, demeans and damages his reputation and good name.

The right to the protection of his name and reputation is settled law and known to


                                          12
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 13 of 19 PageID #: 13



the individually named defendants.

      42. That Plaintiff would show that he was discharged in a manner the

individually defendants knew or should have known would have the purpose,

effect and result of stigmatizing him and causing damages to his good name and

reputation. Further, GPSD and the individually named defendants willfully,

intentionally and maliciously carried out the discharge of Plaintiff in a manner they

knew would leave a false and defamatory public impression of him and to

foreclose him from similar employment opportunities.

      43. That as a result thereof Plaintiff’s reputation and good name has been

severely damaged entitling him to all damages caused by the stigmatization of his

good name and reputation by GPSD and the individually named defendants as

provided by 42 U.S.C. §1983.

                                     COUNT III

      44. That Plaintiff restates and realleges ¶¶1-43 and incorporates them

within this Count by reference as if fully copied herein.

      45. That Miss. Code Art. 3, §14 provides that “no person shall be deprived

of life, liberty, or property except by due process of law.

      46. That Plaintiff had a liberty interest under Miss. law in his reputation and

good name and a right to be free from defendants’ falsely causing damages or

injury to the same by and through their willful and wanton actions.


                                          13
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 14 of 19 PageID #: 14



      47. That the manner of the termination herein and information released to

the press have caused damages to Plaintiff’s reputation and good name and

stigmatized Plaintiff as a trouble maker thereby making it more difficult to obtain

other employment.

      48. Further, unless this Court immediately intervenes and order the

reinstatement of Plaintiff together with back pay, fringe benefits and other relief, it

will have the purpose, effect and result of continuing to cause harm to Plaintiff’s

reputation and good name and the stigmatization of being fired without just cause.

      49. That Plaintiff is entitled to all damages proximately caused by

defendants’ damages to his reputation.



                                     COUNT IV

      50. That Plaintiff restates and realleges ¶¶ 1-49 and incorporates them

within this Count by reference as if fully copied herein.

      51. That Plaintiff had a valid contract with GPSD at the time of his

termination and pursuant to Miss. Const. Art. 3, §14, he has a property interest in

said contract and defendants could not terminate or take said property interest

without due process of law.

      52. That the actions of defendants in terminating said contract was willful,

Intentional, deliberately indifferent to Plaintiff’s rights and designed to deprive

                                          14
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 15 of 19 PageID #: 15



Plaintiff of his property and has had the purpose, effect and result of depriving

Plaintiff of his property without due process of law.

      53. That Plaintiff is entitled to all damages caused by the unlawful taking of

his property.

                                      COUNT V

      54. Plaintiff restates and realleges ¶¶1-53 above and incorporates them

within this Count by reference as if fully copied herein.

      55. That Plaintiff would show that he was deprived of the right to unbiased

decision-makers before GPSD, and that Federal and State constitutional due

process requires that there be fair and impartial decision-makers and that

Defendants Mayes, Milton and Clark were not impartial and that their minds were

irrevocably made to seek Plaintiff’s termination before becoming Board members

without extending to Plaintiff the opportunity to know the allegations against him

and defend against the same before a fair and impartial tribunal.

      56. That as a result of said acts, and the failure to provide Plaintiff a pre-

termination hearing, Plaintiff is entitled to any and all relief available to him,

including but not limited to compensatory damages and injunctive relief.

                                       COUNT VI

      57. Plaintiff restates and realleges ¶¶1-56 above and incorporates them

within this Count by reference as if fully copied herein.


                                           15
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 16 of 19 PageID #: 16



      58. That on January 4, 2016, board members for GPSD terminated a valid

contract it entered into with Plaintiff without a basis therefor.

      59. That the actions of GPSD, the individually named defendants, and upon

information and belief, other unknown persons was intentionally designed to

breach the contract with Plaintiff and their actions had the purpose, effect and

result of breaching Plaintiff’s valid contract with GPSD and causing harm to him

and his reputation.

      60. That as a result Plaintiff is entitled to damages for breach of contract

and extra contractual damages for bad faith breach of contract.



                                     COUNT VII

      61. That Plaintiff restates and realleges ¶¶ 1-60 above and incorporates

them within this Count by reference as if fully copied herein.

      62. That the position of superintendent of education carries with it broad

based respect in the community in general and education community in particular.

When a superintendent is falsely accused and/or terminated as the Plaintiff has

been herein it causes and will continue to cause serious, severe and irreparable

harm to his reputation, good name and standing in the community. Further, it will

stigmatize Plaintiff for the remainder of his career in education.

      63. Therefore, Plaintiff requests that this Court order specific performance


                                           16
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 17 of 19 PageID #: 17



of his contract including immediate reinstatement, back pay and other fringe

benefits.

                                    COUNT VII

       64. That Plaintiff restates and realleges ¶¶ 1-63 above and incorporates

them within this Count by reference as if fully copied herein.

       65. That defendants Mayes, Milton and Clark met and conspired together

and with others whose identities are unknown to Plaintiff prior to the January 4,

2016, Board meeting for the purpose and intent of acting in concern to violate

Plaintiff’s rights.

       66. That as a result of said conspiracy the rights of Plaintiff were and

continued to be violated by the individually named defendants and their unknown

persons.

       67. That Plaintiff intends to determine the names and identities of the co-

conspirators during discovery and add them as party defendants to this action on

grounds they interfered with his lawful contract with GPSD and encouraged the

individually named defendants to breach Plaintiff’s contract.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff demands trial by jury

and judgment of and from the defendants as follows:

       A. Find that defendants terminated Plaintiff without good cause as required

by Miss. Code Ann. §37-9-59 and order defendants to immediately reinstate


                                          17
    Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 18 of 19 PageID #: 18



Plaintiff as superintendent of GPSD with full backpay, fringe benefits and other

amenities authorized by law;

      B. Award Plaintiff compensatory damages in the amount of $1,000,000.00

against GPSD or by the jury as provided by 42 U.S.C. §1983.

      C. Award Plaintiff punitive damages in the amount of $500,000.00 against

each individual defendant for a total award of $1,500,000.00 in punitive damages

and a similar amount against any and all unknown persons.

      D. Award Plaintiff compensatory damages in the amount of $3,000,000.00,

jointly and severally, against the individually named defendants, Mayes, Milton

and Clark, and other unknown persons, for the willful intentional, malicious and

premeditated violation of Plaintiff’s federal and state protected rights.

      E. Award Plaintiff reasonable attorney’s fees and costs;

      F. Order defendants, their successors, agents, representatives and assigns to

purge’s Plaintiff personnel file of any and all derogatory and false documents; and

to provide Plaintiff injunctive relief to protect against future dissemination of such

information; and

      G. Award Plaintiff any other or future relief he may be entitled and the

Court deems just and proper under 42 U.S.C. §1983.




                                          18
Case: 4:16-cv-00093-GHD-JMV Doc #: 1 Filed: 05/06/16 19 of 19 PageID #: 19



  RESPECTFULLY SUBMITTED, this the 3rd day of May, 2016.

                                 MONTRELLE GREENE


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                                   19
